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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )        Case No. 05-20017
                                                  )                 09-2492
FIDENCIO VERDIN-GARCIA,                           )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Fidencio Verdin-Garcia has filed a motion for a certificate of

appealability (doc. 328). A district court may issue a certificate of appealability “only

if the applicant has made a substantial showing of the denial of a constitutional right.”

28 U.S.C. § 2253(c)(2). The Tenth Circuit has interpreted this standard to require a

petitioner to demonstrate that “reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong.” Saiz v. Ortiz, 392 F.3d

1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v. Dretke, 542 U.S. 274, 282 (2004)).

       In his application, Mr. Verdin-Garcia asserts that in resolving his § 2255 motion,

the court merely accepted his attorney’s affidavit over his own. Mr. Verdin-Garcia

argues that the court should have instead held an evidentiary hearing. The court is

confident, however, that it gave proper weight to Mr. Verdin-Garcia’s sworn affidavit.

Many times, the affidavit of Mr. Verdin-Garcia’s attorney did not in fact directly
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contradict his own, and so the court was able to rely on both sworn statements. Other

times, the court resolved Mr. Verdin-Garcia’s claims without resolving any factual

dispute presented by the affidavits or by relying only on Mr. Verdin-Garcia’s affidavits.

As such, the court was able to resolve Mr. Verdin-Garcia’s § 2255 motion without

holding an evidentiary hearing. Mr. Verdin-Garcia does not explain how reasonable

jurists would disagree.

       Accordingly, Mr. Verdin-Garcia has failed to meet the standard for the issuance

of a certificate of appealability.



IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion for a

certificate of appealability (doc. 328) is denied.


       IT IS SO ORDERED this 8th day of June, 2010.


                                       s/ John W. Lungstrum
                                       John W. Lungstrum
                                       United States District Judge




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